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                    IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

PAUL BOGLE,                              )
                                         )
       Plaintiff,                        )
                                         )        Civil Action File No.
vs.                                      )        No.: ____________.
                                         )
WALMART STORES EAST, LP                  )
and JOHN DOE No. 1 and JOHN              )
DOE No. 2;                               )
                                         )
       Defendants.                       )

                            NOTICE OF REMOVAL

      COME NOW WAL-MART STORES EAST, LP, a named Defendant in the

above-captioned matter, by and through its counsel of record, within the time

prescribed by law, and files this Notice of Removal, showing the Court as follows:

                                             1.

      The above-named Plaintiff filed suit against Defendant WAL-MART

STORES EAST, LP in the State Court of Gwinnett County, Georgia, which is within

the Atlanta Division of this Court. 28 U.S.C.A. § 90 (a)(2). Said lawsuit is styled as

above and is numbered as Civil Action File No. 23-C-05602-S1. (See generally

Complaint, a true and correct copy of which is included in attached Exhibit “A”).



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Plaintiff’s claims against Defendant include claims of negligence. (See generally

Exhibit A).

                                         2.

      Plaintiff first filed suit in the State Court of Gwinnett County, Georgia, on

August 7, 2023 - hereinafter referred to as the “Gwinnett County Suit”. (See

generally Exhibit A)

                                         3.

      Defendant WAL-MART STORES EAST, LP was served with a copy of the

Summons and Complaint in the Gwinnett County Suit on Aigsit 9, 2023. (See Proof

of Service, a true and correct copy of which is attached hereto as Exhibit “B”).

Defendant WAL-MART STORES EAST, LP has filed this notice of Removal within

thirty (30) days of service in the Gwinnett County Suit.

                                         4.

      Defendant WAL-MART STORES EAST, LP is a Delaware limited

partnership, of which WSE Management, LLC is the only general partner, and WSE

Investment, LLC is the only limited partner. The sole member of WSE Management,

LLC and of WSE Investment, LLC is Wal-Mart Stores East, LLC, and the sole

member of Wal-Mart Stores East, LLC is WALMART INC. WALMART INC. is a

Delaware corporation with its principal place of business in the State of Arkansas,

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and it was not a citizen of the State of Georgia at the time of or immediately prior to

the filing and service of this lawsuit or at any time thereafter. The principal place of

business for all entities mentioned in this paragraph is 124 West Capitol Avenue,

Suite 1900, Little Rock, Arkansas 72201. (See Exhibit A, ¶ 2; See also Georgia

Secretary of State and Delaware Secretary of State documents, true and correct

copies of which are attached hereto collectively as Exhibit “C”).

                                          5.

      Plaintiff’s Complaint also asserts claims against two fictitious defendants,

“JOHN DOE NO. 1” and “JOHN DOE NO. 2.” (See Exhibit A, ¶ ¶ 4, 5). While

Plaintiff’s Complaint includes allegations against said John Doe Defendants, neither

John Doe Defendant has been identified and, therefore, there is no competent

evidence of the citizenship of the fictitious defendants. Pursuant to 28 U.S.C.

§1441(b), the alleged citizenship of the fictitious John Doe defendants is to be

disregarded for purposes of determining federal jurisdiction under 28 U.S.C.

§1441(a).

                                          6.

      Plaintiff PAUL BOGEL has alleged that he is a citizen of the State of Georgia.

(See Exhibit A, ¶ 1).




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                                           7.

      Complete diversity of citizenship exists between Plaintiff and Defendant.

                                           8.

      Plaintiff claims personal injury from a slip-and-fall incident. While Plaintiff’s

Complaint is silent as to the amount in controversy, a pre-suit demand for

$1,000,000, sent by Plaintiff’s counsel to Defendant on October 7, 2022, specifically

indicated that Plaintiff’s medical expenses totaled no less than $82,353.02. (See copy

of October 7, 2022 Demand, a true and correct copy of which is attached hereto as

Exhibit “D”). Plaintiff’s Complaint generally indicates that Plaintiff has suffered

bodily injury, pain and suffering, mental anguish, loss of enjoyment of life, medical

treatment, medical expenses, and loss of income and that Plaintiff is entitled to

compensation for actual, general and punitive damages as determined by the

enlightened conscience of an impartial jury. (See Exhibit A, ¶¶ 11, 15-18, 20-29;

see also Exhibit D).

                                           9.

      Taken together, the information contained in Plaintiff’s October 7, 2022

Demand and Plaintiff’s Complaint makes it plausible that the amount in controversy,

exclusive of interest and costs, in the subject suit exceeds the jurisdictional threshold

of $75,000. See Dart Cherokee Basin Operating Co. v. Owens, 574 U.S. 81, 81-82,

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135 S. Ct. 547, 553, 554 (2014) (pursuant to 28 U.S.C. §1446(a), a defendant’s

Notice of Removal “need include only a plausible allegation that the amount in

controversy exceeds the jurisdictional threshold.”).

                                         10.

      This action is removable pursuant to 28 U.S.C. §§ 1332 and 1441, based on

complete diversity of citizenship between Plaintiff and Defendant and this

Defendant having timely removed this case pursuant to 28 U.S.C. § 1446(b)(1).

                                         11.

      This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§1332(a)

and 1441 because, as demonstrated in the foregoing, complete diversity exists

between the only proper parties to this suit and Defendant has shown by a

preponderance of the evidence that it is plausible that the amount in controversy

exceeds $75,000.00.

                                         12.

      Pursuant to the provisions of 28 U.S.C. § 1446, Defendants have attached as

Exhibit "E" true and accurate copies of all the pleadings that were provided to and

served upon Defendant, including copies of all pleadings that have been filed to date

in the State Court of Gwinnett County, Georgia for the above-styled case.




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                                          13.

        Pursuant to 28 U.S.C. § 1446, Defendants are not required to file a removal

bond.

                                          14.

        Written notice of the filing of this Notice of Removal will be given to all

parties as required by 28 U.S.C. § 1446, through their counsel of records, as required

by 28 U.S.C. §1446, per the attached Certificate of Service

                                          15.

        A true and correct copy of this Notice of Removal will be filed with the Clerk

of the State Court of Gwinnett County, Georgia, as required by 28 U.S.C. § 1446.

        WHEREFORE, Defendant WAL-MART STORES EAST, LP, prays that

the above- captioned lawsuit be removed to the United States District Court for the

Northern District of Georgia, Atlanta Division; ; that no further proceedings would

be held in the case originally filed in the State Court of Gwinnett County, State of

Georgia; and that this Honorable Court would take cognizance of and jurisdiction

over this suit as removed, pursuant to 28 U.S.C. §1332.




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          This 8th day of September, 2023.

                                           WALDON ADELMAN CASTILLA
                                           MCNAMARA & PROUT

                                          /s/ Steven R. Wilson
                                           ___________________________
                                           Steven R. Wilson
                                           (Georgia Bar No. 614233)
                                           Carolyn L. Lee
                                           (Georgia Bar No. 772008)
                                           Attorneys for Wal-Mart Stores East,
                                           LP
900 Circle 75 Parkway
Suite 1040
Atlanta, Georgia 30339
(770) 953-1710
swilson@waldonadelman.com
clee@waldonadelman.com




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                         CERTIFICATE OF SERVICE

      I hereby certify that on this date, I electronically filed the foregoing pleading

with the Clerk of the Court using an O.C.G.A. § 15-6-11 electronic filing service

provider which will automatically send e-mail notification of such filing to the

following attorney(s) of record:

                                 Robert L. Jenkins, Esq.
                                 Kanner and Pintaluga
                                 201 Peachtree Street NW
                                 Suite 200
                                 Atlanta, GA 30303
                                 rjenkins@kpattorney.com
                                Attorney for Plaintiff

      This 8th day of September, 2023.
                                                WALDON ADELMAN CASTILLA
                                                MCNAMARA & PROUT

                                               /s/ Steven R. Wilson
                                                ___________________________
                                                Steven R. Wilson
                                                (Georgia Bar No. 614233)
                                                Carolyn L. Lee
                                                (Georgia Bar No. 772008)
                                                Attorneys for Wal-Mart Stores East,
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Suite 1040
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(770) 953-1710
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                   5.1 CERTIFICATE OF COMPLIANCE

      I hereby certify that this document was prepared in Times New Roman font,

14-point and complies with Local Rules 5.1(C), NDGa.

      This 8th day of September, 2023.

                                                WALDON ADELMAN CASTILLA
                                                MCNAMARA & PROUT


                                               /s/ Steven R. Wilson

                                                ___________________________
                                                Steven R. Wilson
                                                (Georgia Bar No. 614233)
                                                Carolyn L. Lee
                                                (Georgia Bar No. 772008)
                                                Attorneys for Wal-Mart Stores East,
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                                 Atlanta, GA 30303
                                 rjenkins@kpattorney.com
                                Attorney for Plaintiff

      This 8th day of September, 2023.
                                                  WALDON ADELMAN CASTILLA
                                                  MCNAMARA & PROUT

                                                 /s/ Steven R. Wilson
                                                  ___________________________
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                                                  Carolyn L. Lee
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